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                              MARTIN G. WEINBERG, P.C.
                                     ATTORNEY AT LAW

  20 PARK PLAZA, SUITE 1000                                                      EMAIL ADDRESSES:
BOSTON, MASSACHUSETTS 02116                                                      ______________
       ______________                                                            owlmcb@att.net
                                                                                 owlmgw@att.net
      (617) 227-3700
       ______________

     FAX (617) 338-9538
      ______________

    NIGHT EMERGENCY:
       (617) 901-3472


                                          June 21, 2024

VIA ECF
Donald L. Cabell
Chief Magistrate Judge
U.S. District Court, District of Massachusetts
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210

         RE: In the Matter of the Extradition of T.C., Docket No. 24-mj-01365-DLC

Dear Judge Cabell:

        This letter is for the purpose of augmenting our proffer of conditions of release that were
identified during yesterday’s hearing. As to the proffer of a mortgage/lien on T.C.’s father’s
property in Turkey, which is valued at over $2 million according to the owner, I attach the
appearance bond conditions in United States v. Edward Pennings, Docket No. 16-CR-10094-LTS
(D. Mass) (Dkt. 54), and United States v. Roger Knox, Docket No. 18-CR-10385-NMG (D. Mass)
(Dkt. 158), where foreign property secured their appearances. I am informed by counsel that in
United States v. Vorley, Docket No. 18-cr-00035 (N.D. Ill.) (Dkt. 22), foreign property similarly
secured defendant Vorley’s bond (the details of the bond are not publicly available on Pacer). If
this Honorable Court believes that the Turkish property is necessary to assure T.C.’s compliance
with conditions of release, a mortgage/lien of this property is available and could be incorporated
into any release order.


                                                                    Yours Truly,

                                                                    Martin G. Weinberg
                                                                    Victoria Kelleher
                                                                    Counsel for T.C.
